
The Supreme Court affirmed the decision of the Court below on May 17, 1880, in the following opinion :
Per Curiam.
„ The general averments of fraud contained in the affidavit of the plaintiff, accompanied by the bond filed, were sufficient to authorize the writ of attachment to issue. The allegations of fraud were expressly denied in the affidavit of the defendant. On the hearing of the motion to dissolve the attachment the plaintiff gave no further evidence to sustain his allegations. As then no specific facts showing fraud were stated in his affidavit, and none were proved on the hearing, the learned judge was correct in holding the evidence was not sufficient to establish fraud.
Notwithstanding the assignment of the defendant, he had such a contingent interest in the property as to give him a standing in Court to move to dissolve the attachment.
Judgment affirmed.
